Case 1:19-cr-03113-JB Document 800 Filed 07/31/23 Page 1 of 3

FILED
UNITED STATES OSTRIOT COURT
IN THE UNITED STATES DISTRICT COURT “"8Y@UEROQUE, NEW MEacc
FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

Plaintiff,
v. No. CR 19-3113 JB
ROBERT PADILLA, et al.,

Defendants.

ORDER TO CONTINUE TRIAL

THIS MATTER is before the Court on the Joint Motion to Continue the July 27, 2023 trial
setting. There being good cause shown by the Parties, the Courts finds that the motion is well-
taken and should be granted.

IT IS HEREBY ORDERED that the jury trial in this matter currently scheduled for July

g.00 AM
27, 2023 is continued and will be rescheduled for NV Ovem ber 2F ; 2623 at (trailing

docket).

Additionally, the Court finds that a continuance is necessary to continue plea negotiations
between the government and Defendant Robert Padilla. Said plea negotiations have been
complicated by the need to allow Defendant Padilla to consult with and review discovery with Mr.
Padilla’s separate counsel in Case No. 22-CR-0634 to determine how any potential plea in the
above-captioned case could adversely impact Mr. Padilla’s case in Case No. 22-CR-0634. If a
resolution is not reached, then additional time will be necessary to review and summarize
voluminous discovery, prepare pretrial motions, motions in limine, conduct case investigation, and
prepare for trial. In addition, the Court finds that a continuance is necessary to allow Defendants

Genevive Atencio and Janaya Atencio the necessary time to complete their respective Pretrial
Case 1:19-cr-03113-JB Document 800 Filed 07/31/23 Page 2 of 3

Diversion Program requirements.
The Court finds that the ends of justice will be served by granting this extension of time in
which to file motions and a continuance of the trial. See United States v. Hernandez-Mejia, 406

Fed. App'x. 330, 338 (10" Cir, 2011) (“The Speedy Trial Act was intended not only to protect the

399

interests of defendants but was also ‘designed with the public interest firmly in mind.’”) (quoting

United States v. Toombs, 574 F.3d 1262, 1273 (10 Cir. 2009). Additional time will allow
Defendant Padilla and his counsel to further review discovery, conduct an investigation into the
charges in this case, including the need to analyze the overlapping of facts, evidence, and claims
in the two federal criminal cases pending against Defendant Padilla, and thereafter prepare and file
appropriate pretrial motions. Additionally, a continuance will provide the remaining Defendants
time to discuss a possible negotiated resolution of this matter. Such a negotiated resolution would
conserve judicial and prosecutorial resources and could also materially benefit the defendants by
providing them access to a more favorable resolution of this matter. This motion is not predicated
upon the congestion of the Court's docket. See United States v. Hernandez. Mejia, 406 Fed. App'x.

330, 338 (10 Cir. 2011) ("The speedy Trial Act was intended not only to protect the interests of

339

defendants, but was also ‘designed with the public interest in mind.’”) (quoting United States v.

Toombs, 574 F.3d 1262, 1273 (10 Cir. 2009).

Case 1:19-cr-03113-JB Document 800 Filed 07/31/23 Page 3 of 3

After weighing the best interest of the public and of the Defendants with the ends of
justice, the Court finds that granting a continuance will strike a proper balance between
the ends of justice and the best interests of the public and of the Defendants for the
reasons stated in the motion requesting a continuance, filed July 23, 2023 (Doc. 798).
Specifically, the Defendants’ need to complete the terms of compliance for pretrial
diversion programs or resolve their respective cases, where applicable, and otherwise
to permit counsel to review discovery in the instant matter and a related case, permit
counsel in the related case to continue engaging in plea negotiations in an attempt to
resolve the matter, and if a resolution is not reached, time to litigate pending pretrial
motions, and enable counsel to prepare for trial, outweighs the Defendants’ and the
public's interest in a speedy trial. See 18 U.S.C. Section 3161(h)(7). The pretrial motion
deadline is Vovter ber 6, 2023 The Court will set the trial for

Vrvember 27 252? st 4.0Mrailing docket). This _{AO~day continuance is
sufficient without being greater than necessary, for the Defendants to complete the

tasks set forth in the motion to continue.

